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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF FLORIDA
                              PENSACOLA DIVISION


UNITED STATES OF AMERICA

vs.                                                     3:00CR48/LAC
                                                        3:05CV117/LAC/MD

JEFFREY A. MATZ


                           REPORT AND RECOMMENDATION

        This matter is before the court upon a motion to vacate, set aside, or correct
sentence pursuant to 28 U.S.C. §2255, addendum, affidavit, and “points and authorities.”
(doc. 1237, 1238, 1263 & 1264). The government has filed a response (doc. 1296) and
the defendant has filed a reply (doc. 1299). The matter is referred to the undersigned
magistrate judge for report and recommendation pursuant to 28 U.S.C. § 636 and N.D. Fla.
Loc. R. 72.2(B). After a careful review of the record and the arguments presented, it is the
opinion of the undersigned that defendant has not raised any issue requiring an evidentiary
hearing, Rules Governing Section 2255 Cases 8(a) and (b), and that the motion should be
denied.


I. BACKGROUND
        Defendant Jeffrey A. Matz, an attorney formerly licensed in the state of California,
was charged in two counts of a third superseding indictment with conspiracy to commit wire
fraud or securities fraud and conspiracy to engage in or attempt to engage in a monetary
transaction of criminally derived property of a value greater than $10,000. (Doc. 388). The
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alleged fraud took place as part of a complex “Ponzi” scheme1 wherein wealthy individuals
were induced to invest large sums of money in exchange for unusually high rates of return.
Defendant Matz was represented at trial by appointed counsel Steven Quinnell, Esq. who
took over when previously appointed counsel, Reed Ammon, Esq. was unable to continue
due to illness.
        Following a six week jury trial involving eight of the ten charged defendants,
defendant Matz was convicted on both counts. (Doc. 490). He filed two unsuccessful
motions for a new trial and for judgment of acquittal, (doc. 509 & 527; 509 & 527), and an
unsuccessful motion for release pending sentencing. (Doc. 473, 482, 496, & 497).
Counsel moved to withdraw, the motion was granted after a hearing and the defendant was
allowed to proceed pro se at sentencing. (Doc. 555, 577, 578 & 580). Defendant then filed
an unsuccessful motion for a mistrial (doc. 611 & 636). He was sentenced to a term of 60
months imprisonment on count one and a 97 month concurrent term on count two, three
years of supervised release and restitution in the amount of $9,334,885.42. (Doc. 650 &
668).
        After sentencing, defendant filed a motion for appointment of a particular attorney
as counsel on appeal, or in the alternative to be allowed to proceed pro se. (Doc. 646).
The district court allowed him to proceed pro se. (Doc. 661). Before the appeal was
concluded, defendant also filed a motion for release from custody pending appeal, which
was denied (doc. 854 & 902), and another unsuccessful motion for a new trial (doc. 1108
& 1109), and he was found to be in criminal contempt of court for his failure to cooperate
in turning over assets required to be forfeited. (Doc. 914).



        1
          Ponzi schemes are a type of illegal pyramid scheme nam ed for Charles Ponzi, who duped thousands
of New E ngland residents into investing in a pos tage stam p sp ecu lation sche m e ba ck in the 1920 s. Po nzi
thought he could take advantage of differences between U.S. and foreign currencies used to buy and sell
international m ail coupon s. Po nzi told investors that he could provide a 40% return in just 90 days compared
with 5% for bank savings accounts. Ponzi was deluged with funds from investors, taking in $1 million during
one three-hour period. Though a few early investors were pa id off to mak e the scheme look legitimate, an
investigation foun d that Pon zi had o nly purc has ed a bout $30 worth of the international mail coupons. Decades
later, the Ponzi scheme continues to work on the "rob-Peter-to-pay-Paul" principle, as money from new
investors is used to pay off earlier investors until the whole scheme co llapses.
http://www.sec .gov/ans wers/po nzi.htm

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         The Eleventh Circuit Court of Appeals granted defendant’s request for appointment
of counsel. (Doc. 944). In his appeal, defendant raised 22 issues. 2 His conviction and
sentence were affirmed on February 27, 2004. (Doc. 1184).
         In the present motion, defendant raises two grounds for relief. He contends that his
sentence violated his constitutional rights under United States v. Booker, and, in a claim
involving nineteen subparts labeled “B through T,” contends that counsel was
constitutionally ineffective.           He has left virtually no stone unturned in his challenge



         2
            The issues identified by the appellate court in its opinion were as follows:
1. The defendant’s motion to suppress should have been granted because the terms of the warrant’s limiting
order were violated thereby transforming the search into a general search.
2. The defenda nt d id not receive a fair trial when the government promised not to enter any of the items
seized from the second search into evidence and the defendant waived his right to challenge the search
based on that promise.
3. The trial court should have granted the defendant’s motion to proceed pro se or it should have granted the
m otio n to contin ue so that the defendant’s attorney could be pre pared fo r trial.
4. The m otion to dismiss the indictment should have been granted because the defendant was given
im m unity.
5. The defendant’s convictions should be overturned due to the government’s Brady violations.
6. The defendant’s motion to be relieved from prejudicial joinder should have been granted.
7. The money laundering count of the indictment is defective for failing to “specify the unlawful activity” from
which the laundered funds were derived.
8. The securities statu te is void for vagueness because its definition of “security” is so broad it renders the
definition unintelligible an d res ults in arbitrary en forcem ent.
9. The go vernm ent failed to prove a violation of the securities statute where it did not prove that the
defendant’s conduct was not covered by any of the statutory exemptions.
10. The current standard of review of a motion for judgment of acquittal in a circ um sta ntia l evidence case is
unconstitutional.
11. There was insufficient evidence to prove that the defendant conspired to comm it money laundering and
conspired to comm it wire and securities fraud.
12. The “Le land Lette r” and the defendant’s pre-Hamm ersmith bank records should not have been allowed
into evidence.
13. The trial court erred by failin g to instruct th e ju ry on the lesser inc luded offense of m isprision of felony.
14. The defendant received ineffective assista nce of tria l counsel.
15. The district court abused its discretion when it did not continue the sentencing.
16. The extraordinary (sic) large amount of restitution imposed on the defendant is not legally perm issible
because it is impossible for him to ever pay it back.
17. The amount of loss imposed on the defendant was not foreseeable and the trial court failed to make
spe cific find ings rega rding the scop e of d efenda nt’s co ndu ct.
18. The trial court failed to state in writing the reas ons for its rulings on the defe nda nt’s ob jection s to the PS I.
19. The trial court should have dep arted downw ard beca use the defe ndant was a m inor partic ipan t and
because he accepted responsibility for his actions.
20. The defendant wa s entitle d to a jury tria l in the contem pt proceedings against him .
21. T he trial court e rred whe n it adjudicated the de fendan t guilty of crim inal contem pt.
22. The trial court sh ould have grante d the defendant’s m otio n to be rele ased pending appeal.

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to/critique of counsel’s performance, although a great number of his claims assail strategic
decisions that are virtually unchallengeable.


II. LEGAL ANALYSIS
A. Section 2255 relief, generally
        Because collateral review is not a substitute for direct appeal, the grounds for
collateral attack on final judgments pursuant to § 2255 are extremely limited. A prisoner
is entitled to relief under section 2255 if the court imposed a sentence that (1) violated the
Constitution or laws of the United States, (2) exceeded its jurisdiction, (3) exceeded the
maximum authorized by law or (4) is otherwise subject to collateral attack. 28 U.S.C. §
2255; United States v. Phillips, 225 F.3d 1198, 1199 (11th Cir. 2000); United States v.
Walker, 198 F.3d 811, 813 n.5 (11th Cir. 1999). “Relief under 28 U.S.C. § 2255 ‘is reserved
for transgressions of constitutional rights and for that narrow compass of other injury that
could not have been raised in direct appeal and would, if condoned, result in a complete
miscarriage of justice.’” Lynn v. United States, 365 F.3d 1225, 1232 (11th Cir. 2004)
(citations omitted). “[A] non-constitutional error that may justify reversal on direct appeal
does not generally support a collateral attack on a final judgment, unless the error (1) could
not have been raised on direct appeal and (2) would, if condoned, result in a complete
miscarriage of justice.” Lynn, 365 F.3d at 1232-33 (citations omitted); Hill v. United States,
368 U.S. 424, 428, 82 S.Ct. 468, 7 L.Ed.2d 417 (1962) (error of law does not provide basis
for collateral attack unless claimed error constituted a “fundamental defect which inherently
results in a complete miscarriage of justice.”). The “fundamental miscarriage of justice”
exception recognized in Murray v. Carrier, 477 U.S. 478, 496, 106 S. Ct. 2678, 2649, 91
L. Ed. 2d 397 (1986), provides that it must be shown that the alleged constitutional violation
“has probably resulted in the conviction of one who is actually innocent. . . .”
        Although section 2255 mandates that the court conduct an evidentiary hearing
“unless the motion and files and records conclusively show that the prisoner is entitled to
no relief,” a defendant must support his allegations with at least a proffer of some credible
supporting evidence. Ferguson v. United States, 699 F.2d 1071, 1072 (11th Cir. 1983).

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A hearing is not required on frivolous claims, conclusory allegations unsupported by
specifics, or contentions that are wholly unsupported by the record. Peoples v. Campbell,
377 F.3d 1208, 1237 (11th Cir. 2004); Tejada v. Dugger, 941 F.2d 1551, 1559 (11th Cir.
1991); Holmes v. United States, 876 F.2d 1545, 1553 (11th Cir. 1989) (citations omitted).
Likewise, affidavits that amount to nothing more than conclusory allegations do not warrant
a hearing. Lynn, 365 F.3d at 1239.


B. Booker Claim
        Defendant’s first claim for relief is that he was denied his Fifth and Sixth Amendment
rights under Apprendi,3 Blakely4 and Booker.5 He claims that his sentence was improperly
enhanced and that the federal sentencing guidelines were erroneously applied as
mandatory, rather than advisory.
        In the seminal case of Apprendi v. New Jersey, the Supreme Court held that,
“[o]ther than the fact of a prior conviction, any fact that increases the penalty for a crime
beyond the prescribed statutory maximum must be submitted to a jury, and proved beyond
a reasonable doubt.” 530 U.S. at 490, 120 S.Ct. at 2362-63. See also Ring v. Arizona,
536 U.S. 584, 589, 122 S.Ct. 2428, 2432, 153 L.Ed.2d 556 (2002) (concluding under
Apprendi that “[c]apital defendants . . . are entitled to a jury determination of any fact on
which the legislature conditions an increase in their maximum punishment.”).                         Since
Apprendi was decided, the Supreme Court has decided two additional cases that relate to
federal sentencing, Blakely v. Washington, and United States v. Booker, upon both of
which the defendant relies.
        As clarified in Blakely:
        the “statutory maximum” for Apprendi purposes is the maximum sentence a
        judge may impose solely on the basis of the facts reflected in the jury verdict


        3
            Apprendi v. New Jersey, 530 U.S. 466, 120 S.Ct. 2348, 2362 -63, 147 L.Ed .2d 435 (200 0).

        4
            Blakely v. Washington, 542 U.S. 296, 124 S.Ct. 2531, 159 L .Ed.2d 40 3 (2004).

        5
            Un ited States v . Boo ker, ___ U.S . ___, 125 S.Ct. 738, 160 L.Ed.2d 621 (2005 ).

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        or admitted by the defendant. See Ring, supra, 536 U.S. at 602, 122 S.Ct.
        at 2428 (“‘the maximum he would receive if punished according to the facts
        reflected in the jury verdict alone’” (quoting Apprendi, supra, 503 U.S. at 483,
        120 S.Ct. at 2348)) . . . . In other words, the relevant “statutory maximum”
        is not the maximum sentence a judge may impose after finding additional
        facts, but the maximum he may impose without any additional findings.

124 S.Ct. at 2537-38 (emphasis in original, some citations omitted); see also In re Dean,
375 F.3d 1287, 1290 (11th Cir. 2004) (quoting Blakely).
        In United States v. Booker, 125 S.Ct. 738, 160 L.Ed.2d 621, 2005 WL 50108 (2005),
the Supreme Court extended its holding in Blakely to the Sentencing Guidelines, holding
that the mandatory nature of the federal guidelines rendered them incompatible with the
Sixth Amendment’s guarantee to the right to a jury trial. It excised two parts of the
Sentencing Reform Act to cure the constitutional defects: 18 U.S.C. § 3553(b)(1), which
made the guidelines result binding on the sentencing court and § 3742(e), which required
de novo review of sentences on appeal. Id. at 764. This does not mean, however, that
Booker can be applied to cases in which the conviction is final, a fact which is crucial to the
court’s consideration of the instant motion. Both language within Booker, discussed infra,
and Supreme Court precedent indicate otherwise.
        In Duncan v. Louisiana, 391 U.S. 145, 88 S.Ct. 1444, 20 L.Ed.2d 491 (1968) the
Supreme Court held that the Sixth Amendment’s guarantee of the right to a jury trial
applied to the states. In DeStephano v. Woods, 392 U.S. 631, 88 S.Ct. 2093, 20 L.Ed.2d
1308 (1968) the Court held that Duncan would not be given retroactive application - that
it applied only to those cases that were not final at the time it was decided, and that it did
not apply to cases on collateral attack. The Court reasoned that the right to a jury trial was
fundamental to our system of justice, but that a trial without a jury would not necessarily
result in an inaccurate verdict. Therefore, it would not be necessary to grant a new trial to
every person convicted without a jury.
        In Ring v. Arizona, 536 U.S. 584, 122 S.Ct. 2428, 153 L.Ed.2d 556 (2002) the
Supreme Court held that only a jury, not a judge, could make findings on the aggravating
factors necessary to invoke the death penalty. In Schriro v. Summerlin, 542 U.S. 348, 124

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S.Ct. 2519, 159 L.Ed.2d 442 (2004) the Court held that Ring applied only to those cases
that were not final at the time it was decided, and that it did not apply to cases on collateral
attack. The Court reasoned that the rule announced in Ring was a procedural rule, not a
substantive one, because it did not define an element of a crime. Rather, it determined the
manner in which fact finding is done. The Schriro Court relied on DeStephano, supra,
noting that “[i]f . . . a trial held entirely without a jury was not impermissibly inaccurate, it is
hard to see how a trial in which a judge finds only aggravating factors could be.” 124 S.Ct.
at 2526.
        This is instructive on the application of Booker. The Booker Court expressly noted
that its holding was to be applied retroactively to “all cases ... pending on direct review or
not yet final.” Booker, 125 S.Ct. at 769 (citation omitted). It did not announce that the new
rule would apply retroactively for cases on collateral attack, such as this one. This
reasoning necessarily follows from DeStephano and Schriro. In those cases the Court held
that it was not impermissibly inaccurate to conduct a criminal trial entirely without a jury,
or for a judge alone to find aggravating factors necessary to trigger a death sentence.
Based on those holdings, it is difficult to conclude that a hearing in which a judge finds only
aggravating factors that result in an increased sentence could be impermissibly inaccurate.
See Schriro, 124 S.Ct. at 2526.
        Moreover, the Booker Court cited prior precedent with approval, stating that “[T]he
constitutional safeguards that figure in our analysis concern not the identity of the elements
defining criminal liability but only the required procedures for finding the facts that
determine the maximum permissible punishment.” Booker, 125 S.Ct. at 755 (citations
omitted). The significance of this is that unlike substantive rules, new rules of procedure
generally are not retroactive. Schriro, 542 U.S. 348, 124 S.Ct. at 2523, 2526 (2004) (“[I]t
does not follow that, when a criminal defendant has had a full trial and one round of
appeals in which the [prosecution] faithfully applied the Constitution as we understood it
at the time, he may nevertheless continue to litigate his claims indefinitely in hopes that we
will one day have a change of heart.”).



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        Finally, neither Booker nor Blakely applies retroactively to cases on collateral review.
Varela v. United States, 400 F.3d 864, 866-868 (11th Cir.), cert. denied, 2005 WL 2085299
(2005); see also In re Anderson, 396 F.3d 1336 (11th Cir. 2005) (holding that only the
Supreme Court can make a new rule retroactive on collateral review, and that it must do
so explicitly); Bey v. United States, 399 F.3d 1266, 1269 (10th Cir. 2005) (“Booker may not
be applied retroactively to second or successive habeas petitions.”); Humphress v. United
States, 398 F.3d 855, 860 (6th Cir. 2005) (“[W]e conclude that Booker's rule does not apply
retroactively in collateral proceedings....”); Green v. United States, 397 F.3d 101, 103 (2nd
Cir. 2005) (per curiam) (“[N]either Booker nor Blakely [v. Washington, 542 U.S. ----, 124
S.Ct. 2531, 159 L.Ed.2d 403 (2004),] apply retroactively to Green's collateral challenge.”);
McReynolds v. United States, 397 F.3d 479, 481 (7 th Cir. 2005) (“Booker does not apply
retroactively to criminal cases that became final before its release on January 12, 2005.”);
Cirilo-Munoz v. United States, 404 F.3d 527, 533 (1 st Cir. 2005) (it is unlikely that the
Supreme Court will adopt a retroactivity analysis that opens up to required reexamination
practically all of the federal sentences imposed since the guidelines went into effect in
1987). Since Booker’s effect on sentencing guidelines cases is not retroactive on collateral
review, it is not applicable to this § 2255 motion, and defendant is not entitled to relief on
this ground.


C. Ineffective assistance of counsel
        1. General Legal Standards
        Ineffective assistance of counsel claims are generally not cognizable on direct
appeal and are properly raised by a § 2255 motion regardless of whether they could have
been brought on direct appeal. Massaro v. United States, 538 U.S. 500, 503, 123 S.Ct.
1690, 1693, 155 L.Ed.2d 714 (2003); see also United States v. Bender, 290 F.3d 1279,
1284 (11th Cir. 2002); United States v. Jiminez, 983 F.2d 1020, 1022, n. 1 (11th Cir. 1993).
To show a violation of his constitutional right to counsel, defendant must demonstrate both
that counsel’s performance was below an objective and reasonable professional norm and
that he was prejudiced by this inadequacy. Strickland v. Washington, 466 U.S. 668, 686,

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104 S.Ct. 2052, 2064, 80 L.Ed.2d (1984); Williams v. Taylor, 529 U.S. 362, 390, 120 S.Ct.
1495, 1511, 146 L.Ed.2d 389 (2000). In applying Strickland, the court may dispose of an
ineffective assistance claim if defendant fails to carry his burden on either of the two
prongs. 466 U.S. at 697, 104 S.Ct. at 2069.
        In determining whether counsel’s conduct was deficient, this court must, with much
deference, consider “whether counsel’s assistance was reasonable considering all the
circumstances.” Id. at 688, 104 S.Ct. at 2065; see Atkins v. Singletary, 965 F.2d 952 (11th
Cir. 1992). “[R]eviewing courts must indulge a strong presumption that counsel’s conduct
fell within the wide range of reasonably professional assistance.” Yordan v. Dugger, 909
F.2d 474, 477 (11th Cir. 1990) (citing Harich v. Dugger, 844 F.2d 1464, 1469 (11th Cir.
1988); Chandler v. United States, 218 F.3d 1305, 1314 (11th Cir. 2000); Lancaster v.
Newsome, 880 F.2d 362, 375 (11th Cir. 1989) (emphasizing that petitioner was “not entitled
to error-free representation”)). Counsel’s performance must be evaluated with a high
degree of deference and without the distorting effects of hindsight. Strickland, 466 U.S.
at 689, 104 S.Ct. at 2065. To show counsel’s performance was unreasonable, a defendant
must establish that “no competent counsel would have taken the action that his counsel
did take.” United State v. Freixas, 332 F.3d 1314, 1319-1320 (11th Cir. 2003). (quoting
Brownlee v. Haley, 306 F.3d 1043, 1059 (11th Cir. 2002)(quoting Strickland, 466 U.S. at
687, 689-90, 104 S.Ct. at 2064-66 and Chandler v. United States, 218 F.3d 1305, 1315
(11th Cir. 2000) (en banc)).
        With regard to the prejudice requirement, defendant must establish that, but for
counsel’s deficient performance, the outcome of the proceeding would have been different.
Strickland, 466 U.S. at 694, 104 S.Ct. at 2068. For the court to focus merely on “outcome
determination,” however, is insufficient; “[t]o set aside a conviction or sentence solely
because the outcome would have been different but for counsel’s error may grant the
defendant a windfall to which the law does not entitle him.” Lockhart v. Fretwell, 506 U.S.
364, 369-70, 113 S.Ct. 838, 122 L.Ed.2d 180 (1993). Defendant therefore must establish
“that counsel’s errors were so serious as to deprive the defendant of a fair trial, a trial
whose result is reliable.” Lockhart, 506 U.S. at 369 (quoting Strickland, 466 U.S. at 687).

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Or in the case of alleged sentencing errors, defendant must demonstrate that there is a
reasonable probability that, but for counsel’s errors, the result of the proceeding would
have been less harsh due to a reduction in the defendant’s offense level. Glover v. United
States, 531 U.S. 198, 203-04, 121 S.Ct. 696, 700-01, 148 L.Ed.2d 604 (2001). A
significant increase in sentence is not required to establish prejudice, as “any amount of
actual jail time has Sixth Amendment significance.” Id.
        To establish ineffective assistance, defendant must provide factual support for his
contentions regarding counsel’s performance. Smith v. White, 815 F.2d 1401, 1406-07
(11th Cir.), cert. denied, 484 U.S. 863, 108 S.Ct. 181, 98 L.Ed.2d 133 (1987). Bare,
conclusory allegations of ineffective assistance are insufficient to satisfy the Strickland test.
Tejada v. Dugger, 941 F.2d 1551, 1559 (11th Cir. 1991); Stano v. Dugger, 901 F.2d 898,
899 (11th Cir. 1990) (citing Blackledge, 431 U.S. at 74, 97 S.Ct. at 1629).
        Finally, the Eleventh Circuit has recognized that given the principles and
presumptions set forth above, “the cases in which habeas petitioners can properly prevail
. . . are few and far between.” Chandler v. United States, 218 F.3d 1305, 1313 (11th Cir.
2000). This is because the test is not what the best lawyers would have done or even what
most good lawyers would have done, but rather whether some reasonable lawyer could
have acted in the circumstances as defense counsel acted. Williamson v. Moore, 221 F.3d
1177, 1180 (11th Cir. 2000), cert. denied, 122 S.Ct. 234 (2001).
        Defendant’s ineffective assistance of counsel claims will be considered against the
backdrop of these legal standards.


        2. Defendant’s specific claims
        As noted in counsel’s affidavit, the essence of defendant’s myriad complaints is that
counsel was utterly unprepared for trial, a claim counsel states that he denies. (Doc. 1296,
exh. 2 at ¶ 1). Counsel avers that any alleged inadequacies on his part were dwarfed by
the overwhelming volume of evidence against his client. (Doc. 1296, exh. 2 at ¶ 1). As
noted above, Mr. Quinnell was appointed to represent the defendant two months before
trial when the previous counsel was unable to continue, after having represented the

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defendant for over six months. Mr. Quinnell’s appointment as substitute counsel two
months before trial and his attempt to seek a continuance were the subject of appellate
discussion. (Doc. 1184 at 32-33). The Eleventh Circuit found that the district court had not
abused its discretion in denying the motion for a continuance, in large part because of the
length of time that had passed since the June 21, 2000 indictment and the March, 2001.
Therefore, this was a tacit finding that counsel was provided adequate time to prepare,
even if Matz believed otherwise. “Strickland’s approach toward investigation reflects the
reality that lawyers do not enjoy the benefit of endless time, energy or financial resources.”
Grayson v. Thompson, 257 F.3d 1194, 1221 (11th Cir. 2001). And, every attorney is faced
with zero-sum calculations on time, resources and defenses to pursue at trial. Turner v.
Crosby, 339 F.3d 1247, 1276 (11th Cir. 2003) (quoting Chandler, 218 F.3d at 1314 n. 14).
As such, “[h]ow a lawyer spends his inherently limited time and resources is also entitled
to great deference by the court.” Grayson, 257 F.3d at 1221 (quoting Chandler, 218 F.3d
at 1318 n.22). Thus, while hindsight may provide a different outlook, counsel’s decisions
at a given time as to how to spend the limited time he did have are not to be subjected to
Monday-morning quarterbacking.
        Counsel’s experience should also be taken into account in examining his strategic
decisions. Mr. Quinnell notes in his affidavit that he had experience with several large
fraud-type cases in federal court including a 6-month trial and two other cases in which the
trials lasted 3 to 6 weeks, in addition to other fraud cases that did not go to trial. (Doc.
1296, exh. 2 at ¶ 6). And, “the more experienced an attorney is, the more likely it is that
his decision to rely on his own experience and judgment in rejecting a defense . . . was
reasonable under the circumstances.” Brown v. Jones, 255 F.3d 1273, 1278 (ellipses in
original) (quoting Gates v. Zant, 863 F.2d 1492, 1498 (11th Cir. 1989)). Thus, the “strong
reluctance to second guess strategic decisions is even greater where those decisions were
made by experienced criminal defense counsel.” Brown, 255 F.3d at 1277 (quoting
Chandler, 218 F.3d at 1316 (quoting Provenzano v. Singletary, 148 F.3d 1327, 1332 (11th
Cir. 1998))). Counsel also noted that he has extensive experience in civil court regarding



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financial issues in guardianship accountings, trust accountings, estate accountings, etc.,
as well as an LL.M. degree in taxation.


         Claim 1 (B)--Failure to interview witnesses
         Defendant’s first ineffective assistance of counsel claim is that counsel was
ineffective because he failed to interview and/or call as witnesses at trial twenty-seven
individuals identified by the defendant in his motion. Of these, the government identifies
twelve individuals who testified for the government, all of whom it claims provided
testimony damaging to the defendant. Defendant also maintains that had counsel
interviewed these witnesses, he would have been able to conduct more effective cross-
examination.
         In his affidavit, counsel notes that during his preparation he found the defendant’s
list of witnesses to be way too lengthy, or not helpful, and to include critical prosecution
witnesses who were very damaging to the defense case. (Doc. 1296, exh. 2 at ¶ 21).
Counsel also noted that in federal criminal practice, an area in which the defendant does
not have experience, there are no depositions, and witnesses cannot be compelled to give
information. (Id. at ¶ 12). Therefore, even an attempt at an interview could be fruitless.
Counsel states that he asked the defendant exactly what he expected each witness would
say to help the defense case, and afterwards made the judgment call that most of the
witnesses would be unhelpful, if not hostile or otherwise damaging. (Id. at 21). Counsel
called three witnesses at trial. He recalled government witnesses Gregg Skibbee and Betty
Smith (doc. 484 at 26, 27), and called Jimmy Messick, C.P.A. (doc. 484 at 27). Counsel
also participated in the direct examination of defense witnesses Milo Segner and Jack
Higgins. (Doc. 484 at 25). Counsel states that he tried to speak with both Skibbee and
Smith before their testimony, and was able to speak with Mr. Skibbee’s attorney and with
Mrs. Smith personally.6 (Doc. 1286, exh. 2 at ¶ 21). He describes both of them as “pretty


         6
          W hen beginning his direct examination of Ms. Smith at trial, however, counsel stated that he and the
witness “[had] just bee n introd uce d, (do c. 882, Tr. Vol. X IX at 35), thu s suggestin g that th ey had not previously
spoken.

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wary and cautious,” and notes that their testimony was “both good and bad.”7 Counsel also
indicated he had spoken with two other individuals whose testimony would have proven to
be damaging, and hence he did not call them as witnesses. (Doc. 1286, exh. 2 at ¶ 21).
        Defendant also complains that counsel chose to call Jimmy Messick, a “school
chum,” as a witness at trial rather than forensic accountant Mr. Hekman, with whom
defendant had personally spent many hours in preparation. Counsel indicated in his
affidavit that when he spoke with Hekman, the accountant indicated that he did not have


        7
            Greg ory Skibbee’s testimony appears to have been focused on the introduction of documents.
Skibbee testified about United Holdings and how the company became involved in high yield investments,
including the investiga tion s (due diligence) that were don e be fore it decide d to beco m e involved w ith
Ham mersm ith. (Doc. 872, Tr. XVIII at 232 et seq.) He also testified that United Holdings conducted due
diligence investigations on potential clients, and explained how this process worked, including ho w the clients
and United H oldings go t paid. (Id. at 249-261). Mr. Skibbee testified that defendant Matz was the attorney
for United Holdings and explained how M atz was paid in accordan ce with a written fee agreem ent. (Id. at
261-64). Skibbee read aloud to the jury the contents of a letter he had ask ed the defendant to w rite, es sentia lly
vouching for the reliability of Bridg epo rt Alliance. (Id. at 270-27 1). He testified about a weeklong meeting that
the principa ls of U nited H oldings ha d in Florida w ith Bridg epo rt and Ham m ersm ith. (Id. at 273-75 ).
           Mr. Skibbee then testified about the inceptions and workings of United State s Holdings, a sepa rate
entity, including the purchase of a bond to insure clients’ investments. (Doc. 872, Tr. XVIII at 275-282). He
tes tified that at so m e point the re were difficulties in getting clients their earnings and that they began to ask
questions. (Id. at 285, 287-90, doc. 882, Tr. Vol. XIX at 7-16). Skibbee testified that in October of 1998,
United Holdings sent a letter to Bridgeport to resign as an agent to the company, because the clients weren’t
listening to them, presumably about perceived problems with the program . (Doc. 882, Tr. Vol XIX at 13, 25).
Defendant Matz was involved in the efforts to get the clients back som e of their m oney. (Doc. 882, T r. Vol.
XIX at 16-23).
           During cross exa m ination by the governm ent, Mr. Skibbee testified that in October of November of
1998, Mr. Matz was still meeting with investors and putting them into the Ham mersm ith program outside of
Sk ibbee’s presence or knowledge. (Doc. 882, Tr. Vol. XIX at 32-33). The witness also testified that he had
returned some investment overage on behalf of him self and Mr. Ma tz, approximately $25,00 0, for w hich Ma tz
had not paid him bac k. (Id. at 33-34). He admitted that none of United Ho ldings’ clients had re quested their
principle back by the tim e of U nited’s resignation as agen t in Oc tobe r of 19 98. (Id. at 34).
           Betty Smith testified about her involvement with United Holdings and placing investors in the
Ha m m ersm ith investment program. (Doc. 882, Tr. Vol. XIX at 36-41). She identified clients and participants,
noting that sh e did not get paid if there were no profits. She explained that United States Holdings was formed
with different owners than United Holdings, but with the purpose of bringing clients into Hamm ersmith. (Doc.
882, Tr. Vol. XIX at 41-42). She noted that earnings payments were delayed or stopped altogether near the
end of August, or early September of 1998, and that efforts to collect money from Ham mersm ith did not go
very well. (Id. at 43). She testified that among the mem bers of United States Holdings, protecting the clients’
principal was much m ore important than trying to get a profit. (Id. at 44). She also testified that she never
thou ght she w as p articipa ting in an ything illegal at the tim e. (Id.).
           On cross examination, she stated that she and Gregory Skibbee had hired and relied upon the
defendant Matz to be their attorney to examine the paperwork to mak e sure they were doing the right thing.
(Doc. 882, T r. Vol. XIX at 45). They broke away from him in October of 1998 because they were unsure of
what he w as d oing, were unfa m iliar with the c lients he was bringing in, and didn’t like the way he was handling
things at that p oint. (Id.)

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sufficient records to properly analyze Matz’s bank statements, and that when counsel
reviewed the work product of Hekman and his associate, it was not focused on the true
issues at trial and was of no use to the defense. (Doc. 1296, exh. 2, ¶ 17). Therefore, it
was a reasonable strategic decision not to call Hekman as a witness, particularly in light
of the court-imposed limitation on the number of witnesses discussed below.
        Finally, to the extent defendant claims that counsel should have called additional
witnesses, he has failed to show prejudice. At the conclusion of the hearing held on
October 14, 2000 the court told then counsel that it found “the number of witnesses and
what they propose to say to be somewhat intertwined and on occasion overlapping and
some of them to be borderline worthwhile.” (doc. 324 at 160). The court then told counsel
to “pick [his] best four and [the court would] authorize their coming.” (Doc. 324 at 161).
Therefore, defendant has failed to show that he would have been permitted to call any
more than four witnesses, even had counsel attempted to do so.


        Claim 2 (C)--Failure to request Daubert hearing
        Defendant contends that counsel should have requested a Daubert8 hearing on the
expert testimony of Milo Segner, C.P.A. He claims that Segner was testifying “according
to instructions from the government” rather than expressing his own opinions, that Segner’s
accounting methods were not within “generally accepted accounting principles” and that
his testimony created false impressions about the extent of the scheme which led to the
“erroneous conclusion” that there was $20 million missing and unaccounted for.” He also
suggests counsel could have used a Daubert hearing strategically to allow him to preview
the other expert testimony that would be presented in the case.
            In Daubert, the Court held that, when “[f]aced with a proffer of expert scientific
testimony, ... the trial judge must determine ... whether the expert is proposing to testify to
(1) scientific knowledge that (2) will assist the trier of fact to understand or determine a fact
in issue.” 509 U.S. at 592, 113 S.Ct. at 2796.              In making this determination the district


        8
            Daubert v. Merrell Dow Pharm., Inc., 509 U.S. 579, 113 S.Ct. 2786, 125 L.Ed .2d 469 (1993 ).

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court should consider factors such as whether the theory or technique can be and has
been tested, whether it has been subjected to peer review and publication, the known or
potential rate of error, and whether the theory is widely accepted in the relevant scientific
community. Id. at 593-595, 113 S.Ct. at 2796-2797. The Eleventh Circuit held in United
States v. Hansen, 262 F.3d 1217, 1234 (11th Cir. 2001) that:
        [S]cientific expert testimony is admissible if ‘(1) the expert is qualified to
        testify competently regarding the matters he intends to address; (2) the
        methodology by which the expert reaches his conclusions is sufficiently
        reliable as determined by the sort of inquiry mandated in Daubert; and (3) the
        testimony assists the trier of fact, through the application of scientific,
        technical, or specialized expertise, to understand the evidence or to
        determine a fact in issue.’

262 F.3d at 1234 (quoting City of Tuscaloosa v. Harcros Chems., Inc., 158 F.3d 548, 562
(11th Cir. 1998). The principles of Daubert do not apply only to traditional “scientists” but
also to accountants. See Craftsman Limousine, Inc. v. Ford Motor Company, 363 F.3d
761, 770 (8th Cir. 2004); JGR, Inc. v. Thomasville Furniture Industries, Inc., 370 F.3d 519
(6th Cir. 2004).
        Mr. Segner was cross examined both at trial and at the July 6, 2001 loss hearing
by counsel for defendant Matz, Matz himself, and other counsel, (see Doc. 877, Vol. XV
at 113-192; Doc. 879 Vol. XVI 3-188; Doc. 853, Vol. XVII at 4-52; Doc. 739 at 96-187), all
of whom had the opportunity to attempt to persuade the jury or the court of the unreliability
of his accounting methods. At the loss hearing, for instance, Matz, who was then
representing himself, commented that Segner’s accounting was “full of holes,” that it was
an inaccurate way of counting money, it was a “magical accounting system,” that the
“accounting presented at trial did not meet the test for believability,” was a “continuing
series of accounting errors,” was “done in a fashion which renders it unreliable for
purposes of trial, for purposes of sentencing or for any other purpose” and that it did not
“have the ring of truth to it.” (doc. 739 at 65, 76-77, 78, 82, 166). With respect to the latter
comments, the court noted that the witness had explained that his figures were updated
every time additional information became available, such that defendant’s challenge to
changes in the information was “difficult to follow.” (Doc. 739 at 166-67, 168). The court

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apparently was not persuaded by any of the attempts to discredit Mr. Segner, and relied
upon his testimony, at least to an extent, in sentencing and assessing restitution against
the various defendants. Defendant has not shown what other challenges to the testimony
could or should have been made at a Daubert hearing and would have resulted in the
exclusion of Segner’s testimony. Therefore, defendant has not shown that he was
prejudiced by counsel’s failure to request such a hearing, and he is not entitled to relief on
this ground.


        Claim 3 (D)--Failure to confer
        Defendant claims that his attorney failed to meet and confer with other defense
counsel in their daily meetings. Because of this, counsel was not involved in preparing
defense witnesses to testify (e.g., Higgins, Hansen and Cook), reviewing Brady materials,
or preparing jury instructions. Defendant states that he attended these meetings, but that
counsel failed and refused to debrief him about what took place. The government claims
that this argument is refuted by counsel’s affidavit, although counsel did not specifically
address this claim. Still defendant’s claim fails on the issue of prejudice. He does not
specifically state what outcome-altering fact counsel missed out on by not attending the
meeting. He does not specifically state how he was prejudiced by counsel’s failure to
participate in the preparation of the other defense witnesses or how such preparation
would have altered the outcome of this case. In fact, he faults counsel for not “exploring”
how he could use defense witnesses to Matz’ advantage, a claim that falls far short of the
mark of establishing prejudice. As noted above, counsel is not expected to act as though
he has endless time, energy or financial resources in investigating a case. Grayson, 257
F.3d at 1221, Chandler, 218 F.3d 1318 n. 22. Defendant’s claim is further weakened by
the fact that the defense counsel held a mock trial, after which his counsel concluded that
distancing Matz from the other defendants was a viable strategy. (Doc. 1296, exh. 2 at ¶
10). Therefore, it cannot be said that counsel was unaware of what tactics or witnesses
the other defense counsel intended to use.



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        Claim 4 (E)--Failure to debrief defendant9
        Like many of the defendant’s claims, this claim goes well beyond the scope
addressed in the heading. Defendant states that he and his predecessor counsel Reed
Ammon had done nearly six months of intensive pre-trial preparation, culminating in the
preparation of thirty-six10 notebooks of organized and highlighted materials. Although
defendant offered these notebooks to counsel, along with his assistance, on January 21,
2001, he claims that counsel never availed himself of the offer, instead waiting until March
1, 2001, just before the trial began, to meet with him for the first time.
        Again, the government maintains that this claim is refuted by counsel’s affidavit.
Counsel states that he spent 114 hours on the defendant’s case during the six weeks prior
to trial. (Doc.1296, exh. 2 at ¶ 7). Counsel notes that the defendant did not come to town
until just before the trial, but that after that point they met most evenings to prepare for the
next day of trial.        (Doc. 1296, exh. 2 at ¶ 16). He states that his client was helpful in
building a set of defendant’s exhibits that were introduced into evidence through Mr.
Skibbee, but that Matz was unable to properly digest all of the information and place it into
trial context. (Id., at ¶ 16). He also noted that his client was unable to help with analyzing
his bank account transactions, which were key to the case. (Id., at ¶ 17). Therefore, it
appears that he did attempt to debrief his client in the limited time Matz was available and
use the information that his client had, but Matz was misguided about what sorts of things
would be helpful.




        9
            This claim is closely intertwined with claim 14(o ).

        10
          The number of notebooks is variously identified as thirty-six or thirty-seven throughout defendant’s
pleadings. The court adopts the number thirty-six for use in this recomm endation.

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        Claim 5 (F)--Failure to request a Kastigar Hearing
        Defendant claims that he was issued a “Kastigar letter” dated May 20, 1999 by
AUSA Reed Pixler of Phoenix Arizona, which provided him with immunity. 11 The term
Kastigar letter derives from Kastigar v. United States, 406 U.S. 441, 92 S.Ct. 1653, 32
L.Ed.2d 212 (1972), wherein the Supreme Court stated that a government entity seeking
to prosecute a witness who has been immunized under the federal immunity statute, 18
U.S.C. §§ 6001-6003, has “the affirmative duty to prove that the evidence it proposes to
use is derived from a legitimate source wholly independent of the compelled testimony”.
Id. at 460, 92 S.Ct. at 1665. See also Taylor v. United States, 148 F.3d 1276, 1279 (11th
Cir. 1998). “Testimony obtained pursuant to a grant of statutory use immunity may be used
neither directly nor derivatively.” Braswell v. United States, 487 U.S. 99, 119, 108 S.Ct.
2284, 2295 101 L.Ed.2d 98 (1988) (citing 18 U.S.C. § 6002; Kastigar, 406 U.S. 441, 92
S.Ct. 1653, 32 L.Ed.2d 212 (1972)). A defendant who has been granted immunity and is
subsequently prosecuted may be entitled to a Kastigar hearing to determine whether his
constitutional rights are violated by the bringing of an information based on the testimony
given pursuant to the immunity agreement. Taylor, 148 F.3d at 1279. A defendant raising
a claim under the federal immunity statute “need only show that he testified under a grant
of immunity in order to shift to the government the heavy burden of proving that all of the
evidence it proposes to use was derived from legitimate independent sources.” Braswell,
487 U.S. at 119, 108 S.Ct. at 2295 (quoting Kastigar, 406 U.S. at 461-462, 92 S.Ct. at
1665). The Braswell Court went on to state that “[e]ven in cases where the Government

        11
           Th e letter p rovide d in pe rtinent part:
1. No statements m ade by or other information provided by you during discussions with the agents will be
used against you. This means that if you were to be prosecuted for any offense, even one that you revealed
in the cou rse of your coo pera tion with the investigation, what you said during that cooperation could not be
introduced as evidenc e against you in the governm ent’s case-in-chief.
2. The government may make derivative use of any may pursue any investigation leads suggested by any
statem ents made by or other information provided by you or your atto rney. T his pro vision is necessary in
order to elim inate the necessity for a Kastigar [406 U.S. 441 (1972)] hearing at w hich the governm ent wo uld
have to prove that the evidence it would introduce at trial is not tainted by any statements made by or other
information provided by the defendan t or the defendant’s attorney during the off-the-record proffer or
discussion.
(Doc. 163, exh. A). It was signed by the defendant and his then-attorney, and Reid C. Pixler of the United
State s Atto rney’s o ffice in the D istrict of A rizona.

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does not employ the immunized testimony for any purpose-- direct or derivative--against
the witness, the Government's inability to meet the ‘heavy burden’ it bears may result in the
preclusion of crucial evidence that was obtained legitimately.” Id. 487 U.S. at 119, 108
S.Ct. at 2295.
        In this case, defendant contends that counsel failed to read the alleged Kastigar
letter, review any court proceedings related to the letter, failed to investigate the facts and
circumstances surrounding the issuance of the letter, or in short, took virtually no steps to
protect him pursuant to the provisions of that letter.
        The government contends that this issue was “fully litigated prior to trial.” (Citing doc.
163 & 272). The record reflects that the defendant, through his former counsel Reed
Ammon, moved to dismiss the indictment (doc. 163), and that the court held a hearing, and
denied the defendant’s motion. (Docs. 272, 324). The appellate court found that the
district court did not err in its decision. (Doc. 1184 at 34). In his reply, the defendant states
that contrary to the government’s suggestion, the issue was not “fully litigated” prior to trial.
He maintains that the only issue that had been partially litigated was whether the letter in
question provided total immunity from prosecution, but the government was never put to
the”heavy burden of proof” required by Kastigar.
        In his motion to dismiss the indictment, defendant argued that any and all evidence
obtained from him since September of 1998, along with any evidence that is the “fruit” of
such information must be suppressed in his prosecution, and that the indictment had to be
dismissed with prejudice because it was the result of a “betrayal of immunity agreements”
Matz entered into with both the United States and the state of Arizona. (Doc. 163 at 2, 25-
29). He also clarified that he was not arguing that he could not be prosecuted, but that he
could only be prosecuted with evidence that the government established had an
independent legitimate source and was thus “untainted.” (Doc. 163 at 23). Because,
defendant maintained, the evidence used to prosecute this case originated solely from
Matz himself, the indictment must be dismissed with prejudice, or in the alternative, he
requested a pre-trial Kastigar hearing. (Id. at 23-24).



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        The court held a hearing on October 14, 2000 at which it heard argument on this
issue. (Doc. 324 at 138-157). The court indicated that it accepted the government’s
representation about what it was and was not going to use as evidence during its case in
chief, and also referenced the paragraph of the purported immunity letter which specifically
noted that the government could make derivative use of or pursue any investigation leads
suggested by any statements made by or other information provided by the defendant.
(Doc. 324 at 140-146). His motion was denied without prejudice because he had not
shown a single item that was going to be used against him as a result of his cooperation
and in violation of the “immunity letter.”               (Doc. 324 at 154, 157). The court noted that
items seized pursuant to a search warrant could not be considered voluntary cooperation,
and hence were presumably permissible for use by the government. (Doc. 324 at 145).
        Even if defendant’s successor counsel Mr. Quinnell had again requested a Kastigar
hearing, based on the court’s ruling and findings in the first hearing, defendant has failed
to show that such a hearing would have been granted, or that the outcome of proceedings
would have been any different. As noted above, the district court’s denial of the motion to
dismiss was upheld on appeal. Therefore, he is not entitled to relief on this ground.


        Claim 6 (G)--Failure to appeal denial of Faretta motion
        Defendant contends that counsel was ineffective because he failed to file an
interlocutory appeal of the court’s denial of his Faretta12 motion. He states that he asked
counsel to file this appeal upon leaving the Faretta hearing on March 1, 2001, and that
counsel responded he would “think about it.” He maintains that counsel told him he now
had a “free ride” and a “built-in insurance policy” in that the reversal of the lower court was
virtually assured in the event of an appeal.
        Defendant argues that counsel should have appealed under the collateral order
doctrine of Cohen v. Beneficial Industrial Loan Corp., 337 U.S. 541, 69 S.Ct. 1221, 93
L.Ed. 1528 (1949). In Cohen, the Supreme Court found that it is appropriate to take an


        12
             Fa retta v . California, 422 U.S . 806, 95 S .Ct. 25 25, 45 L.E d.2d 562 (197 5).

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interlocutory appeal of decisions by the district court that “finally determine claims of right
separable from, and collateral to, rights asserted in the action, too important to be denied
review and too independent of the cause itself to require that appellate consideration be
deferred until the whole case is adjudicated.” 337 U.S. at 546, 69 S.Ct. at 1225-1226.
Otherwise, by waiting until the case is adjudicated, it could be too late effectively to review
the orders and the rights conferred could have been lost, possibly irreparably. Defendant
argues, citing Reshard v. Britt, 819 F.2d 1573 (11th Cir. 1987) that this reasoning is
applicable to this case. Reshard v. Britt, 819 F.2d 1573, 1581 (11th Cir. 1987) (“[W]e
believe that an order granting a motion disqualifying a party from proceeding pro se, cannot
be ‘effectively reviewed on appeal’ after final judgment, and therefore, should be
immediately reviewable as a collateral order, under the Cohen doctrine.”), rehearing
granted and opinion vacated Reshard v. Britt, 831 F.2d 222 (11th Cir. 1987) and on
rehearing Reshard v. Britt, 839 F.2d 1499 (11th Cir. 1988). Reshard, however dealt with
a civil case and a party’s right to proceed pro se under 28 U.S.C. § 1654, rather than a
criminal matter.
          In the case at bar, defendant challenged on direct appeal the district court’s denial
of his motion to proceed pro se. The appellate court found that there was no error because
defendant’s waiver of his right to counsel was not unequivocal. (Doc. 1184 at 32).
Defendant makes the conclusory assertion that he could not “effectively” appeal the
adverse decision after final judgment, but he does not explain how or why he believes the
outcome of the appeal would have been different had it been taken immediately after the
district court denied his motion. Therefore, he was not prejudiced and he is not entitled to
relief.


          Claim 7 (H)--Failure to review any evidence
          Defendant claims that Quinnell failed to review any of the 270,000 pages of
documentary evidence at the government repository. However, defendant also represents
that he and his predecessor counsel reviewed all the documents and put the relevant ones
into a thirty-six volume file of binders. It would appear that the defendant’s preparation

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would have obviated the need for counsel to “reinvent the wheel” and go through the
documents again, particularly given time constraints. However, defendant contends that
counsel also failed to review the contents of these binders, with limited exceptions.13 As
a result of this, he claims that Mr. Quinnell could not develop a theory of defense, failed to
investigate the defense that defendant was urging, and was unable to effectively cross
examine testifying witnesses.
        Counsel concedes in his affidavit that even if he had had every minute of every work
day to prepare for the trial, he could not have read and properly understood all of the
documents. (Doc. 1296, exh. 2). He states that because there was a mountain of
documentary evidence in gross form with limited available time prior to trial, he had to
figure out the prosecution’s “big picture,” and to focus and prioritize preparation efforts.
Counsel cannot be said to have disregarded his obligation to the defendant. He states in
his affidavit that in order to prepare for the defendant’s trial, he delegated as much of his
civil work as possible, rescheduled appointments and obtained extensions, and with
respect to his coaching duties, he delegated responsibilities or simply missed practices.
Counsel indicates that he figured out and isolated the key financial transactions himself to
“rein in the prosecution’s broad statements about Mr. Matz” and show that his handling of
his clients’ money was proper, and introduced a counter spreadsheet through an
experienced local CPA, Jimmy Messick. (Doc. 1296, exh. 2 at ¶ 18). This appears to be
reasonable in light of the situation facing counsel. And, as noted above, deference is
afforded to the decisions of experienced trial counsel. Brown, 255 F.3d at 1278; Gates,
863 F.2d at 1498. Finally, Matz has not specifically identified any critical piece of evidence
that counsel did not review and that could have changed the outcome of the case.


        Claim 8 (I)--Failure to do any legal research
        Defendant claims that counsel “never opened a law book” with respect to his case.
He claims that counsel failed to do legal research on a variety of issues, the overwhelming


        13
        The doc um ents defe nda nt iden tifies that Qu innell did review were do cum ents perta ining to Skibbee
and Endorsem ent #3, as it pertained to Barrett’s testim ony.

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majority of which are raised and discussed elsewhere in his motion. One claim which is
not discussed elsewhere is defendant’s claim that counsel failed to do legal research on
the law of conspiracy and therefore misstated the law on conspiracy in his closing
argument. Even if this is true, the court instructed the jury that any statements made by
counsel were not the law and that the jury was to follow the law as instructed by the court.
(Doc. 485 at 4). The jury is presumed to have followed the judge’s instructions. United
States v. Calderon, 127 F.3d 1314, 1334 (11th Cir. 1997); United States v. Wilson, 149 F.3d
1298, 1302 (11th Cir. 1998); United States v. Chandler, 996 F.2d 1073, 1088 (11th Cir.
1993); Raulerson v. Wainwright, 753 F.2d 869, 876 (11th Cir. 1985). The jury instructions
included a proper definition of conspiracy (doc. 485 at 10-12), and therefore under
controlling law, defendant has not shown prejudice resulting from counsel’s alleged
misstatement of the law on conspiracy.
        Defendant also claims that counsel did not understand basic procedural or
evidentiary rules, such as the rule on hearsay. (Doc. 852 at 270-271). While it is true that
counsel conceded in open court that he had “never understood” hearsay and that he
needed “to learn these rules better,” (doc. 852 at 270, 271), defendant’s general
allegations of resulting prejudice appear unsupported. Defendant contends that counsel’s
failure to understand Rule 807 of the Federal Rules of Evidence 14 and its applicability to
hearsay statements of “such witnesses as Gibson, Hamilton, Miller, Stoner, Boeger, [and]
Gibson’s alleged advertisement” resulted in prejudice to him when the government’s failure


        14
             This rule provides:

        A statement not specifically covered by Rule 803 or 804 but having equivalent circumstantial
        guarantees of trustworthiness, is not excluded by the hearsay rule, if the court determines
        that (A) the state m ent is offered as evidenc e of a m aterial fact; (B) the stateme nt is more
        probative on the point for which it is offered than any other evidence which the proponent can
        procure throu gh re aso nab le effo rts; and (C) the general purposes of these rules and the
        interests of justice will best be served b y adm ission of the stateme nt into evidence . Howeve r,
        a statement m ay not be adm itted under this exception unless the proponent of it mak es
        known to the adverse party sufficiently in advance of the trial or hearing to provide the
        adverse party with a fair oppo rtunity to prepare to m eet it, the p ropo nen t's intention to offer
        the statem ent and the pa rticulars of it, including the nam e an d ad dres s of th e de clarant.

Fed.R.Evid. 807.

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to comply with the rule went uncorrected. He provides no specific examples of this, much
less any indication that the outcome of the proceedings were affected by counsel’s alleged
failing. His conclusory assertion does not entitle him to relief.


        Claim 9 (J)--Failure to pursue motion to suppress
        Defendant states that his former attorney had filed a motion to suppress evidence
gathered during a search of defendant’s law office on January 23, 1999. (Doc. 204). At
defendant’s request, Quinnell brought the motion to the court’s attention at the March 1,
2001 hearing, but after the court asked counsel to hold the motion until the witness Mark
Knops arrived to testify at trial, (doc. 852 at 52-56), counsel never brought it up again. As
a result, defendant contends, evidence that should have been suppressed, including the
Rancho Investor’s account, the Leland letter, the Krota testimony and the Wok testimony
was used against him because the scope of the search exceeded the warrant.
        When defense counsel’s failure to litigate a Fourth Amendment claim competently
is the principal allegation of ineffectiveness, in order to demonstrate actual prejudice, the
defendant must prove that his Fourth Amendment claim is meritorious and that there is a
reasonable probability that the verdict would have been different absent the excludable
evidence. Kimmelman v. Morrison, 477 U.S. 365, 375, 106 S.Ct. 2574, 2582-83, 91
L.Ed.2d 305 (1986). Regardless of whether a defendant’s guilt is established by the
excludable evidence, in the Eleventh Circuit the proper question is whether the outcome
of the proceedings would have been different had the motion to suppress been filed and
the evidence been excluded. Jones v. United States, 224 F.3d 1251, 1259 (11th Cir. 2000);
Huynh v. King, 95 F.3d 1052, 1058-59 (11th Cir. 1996); Thomas v. Newsome, 821 F.2d
1550, 1552 (11th Cir. 1987).
        However, in defendant’s “points and authorities” he states that:
         “We are not here to discuss the final outcome of the Motion to Suppress.
        We are here to discuss SQ’s ineffectiveness. Matz was entitled to SQ’s
        considered opinion after carefully considering the law and the facts. SQ
        never looked at the issue.”



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(Doc. 1293 at 20). This evidences a misunderstanding about what is required to show
ineffective assistance of counsel. If a defendant cannot show that he was prejudiced by
counsel’s alleged failure, he is not entitled to relief. Defendant has not shown that the
Motion to Suppress would have been granted and the outcome of the proceedings would
have been different, hence he is not entitled to relief on this claim. Fu r t h e r m o r e , t he
Eleventh Circuit upheld the denial of defendant’s motion to suppress (doc. 1184 at 29-30)
and rejected defendant’s claim that he had not received a fair trial as a result. (Doc. 1184
at 31).


          Claim 10 (K)--Failure to obtain the Ammon file
          Defendant claims that Mr. Quinnell was ineffective because he failed to obtain a
complete copy of the file of his predecessor counsel, Reed Ammon. Defendant notes that
Quinnell wrote to Mr. Ammon only after the trial was over to get Ammon’s file, and that
those portions of the file that had been delivered previously were unread. Defendant
contends that because of this failing, counsel was unable to pursue issues that had already
been “worked up” including Kastigar hearing, a Jones hearing, a Daubert hearing, and the
motion to suppress, all of which have been discussed herein. Defendant does not
specifically state how the contents of former counsel’s file would have assisted Mr. Quinnell
or made those losing issues “winners.” Therefore, even if what he says is true,15 he has not
shown prejudice, and he is not entitled to relief on this claim.


          Claim 11 (L)--Failure to Debrief Ammon
          Defendant next claims that Quinnell’s failures were magnified by the fact that he did
not debrief defendant’s former counsel, Mr. Ammon about the eight months of work
Ammon had done on defendant’s case. The government states that this claim is refuted
by counsel’s affidavit, although defense counsel does not explain or even mention his
actions with respect to former counsel in his affidavit. Still, defendant has failed to explain


          15
          Counsel states in his affidavit that part of the 114 hours he logged in pre-trial preparation was
obtaining and reviewing form er couns el’s files. (Doc. 1296, exh. 2 at ¶ 7).

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exactly what defense counsel would have learned had he “debriefed” Matz’ former counsel
that he could not learn from either the documentary evidence and records or his client
himself that would have changed the outcome of the case.


        Claim 12 (M)--Failure to Obtain or Review Brady16 Material.
        Defendant purports to complain that counsel did not review the six boxes of
evidentiary material made available to defense counsel at the office of co-defendant’s
counsel Barry Beroset. However, defendant states that he personally reviewed the
materials, and, finding many items to be missing, he included copies of the missing items
from his personal records in the 36 volume notebook of trial materials he prepared.
Because the defendant summarized the items, he does not explain what prejudice inured
to him by counsel’s failure to personally go through the items, particularly in light of the
short amount of time counsel had to prepare. Furthermore, he specifically states that “the
missing items would have been particularly valuable in cross-examining the respective
witnesses” (doc. 1238 at 15), a statement which does not prove he was prejudiced by
counsel’s failure to look at the boxes of documents from which these items were “missing.”
        The defendant’s reference to Brady material is not clear. In Brady v. Maryland, 373
U.S. 83, 87, 83 S.Ct. 1194, 1196-1197, 10 L.Ed.2d 215 (1963), the Supreme Court held
that the suppression by the prosecution of evidence favorable to the accused upon request
violates due process where the evidence is material either to guilt or to punishment,
irrespective of the good faith or bad faith of the prosecution. It is no longer imperative that
there be a request for the production of such evidence. Kyles v. Whitley, 514 U.S. 419,
433-34, 115 S.Ct. 1555, 1565, 131 L.Ed.2d 490 (1995); United States v. Agurs, 427 U.S.
97, 110, 96 S.Ct. 2392, 2401, 49 L.Ed.2d 342 (1976); see also United States v. Scheer,
168 F.3d 445, 451 (11th Cir. 1999)(material favorable, exculpatory or impeachment
evidence must be produced regardless of request). A successful Brady violation claim
requires a showing that: (1) the prosecution possessed evidence favorable to the accused


        16
             Brady v. Maryland, 373 U.S. 83, 87, 83 S.C t. 1194, 1196-1197 , 10 L.Ed.2d 215 (19 63).

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(including impeachment evidence); (2) the defendant did not possess the evidence nor
could he have obtained it himself with any reasonable diligence; (3) that the prosecution
suppressed the favorable evidence; and (4) had the evidence been revealed to the
defense, there is a reasonable probability that the outcome of the proceedings would have
been different. United States v. Schlei, 122 F.3d 944, 989 (11th Cir. 1997) (citing United
States v. Newton, 44 F.3d 913, 198 (11th Cir. 1995)), cert. denied, 523 U.S. 1077, 118
S.Ct. 1523, 140 L.Ed.2d 674 (1998). A “reasonable probability” is a “probability sufficient
to undermine confidence in the outcome.” United States v. Bagley, 473 U.S. 667, 682, 105
S.Ct. 3375, 3383, 87 L.Ed.2d 481 (1985) (quoting Strickland v. Washington, 466 U.S. 668,
694, 104 S.Ct. 2052, 2068, 80 L.Ed.2d 674 (1984)); Kyles v. Whitley, 514 U.S. 419, 434,
115 S.Ct. 1555, 1566, 131 L.Ed.2d 490 (1995); United States v. Scheer, 168 F.3d 445,
451-52 (11th Cir. 1999). In this case, defendant has not suggested that the prosecution
withheld any favorable evidence, rather, he makes a more vague statement that certain
items were “missing.” And, because defendant admits he was able to procure the missing
items, there was no Brady violation for counsel to challenge.


        Claim 13 (N)--Failure to Explore Giglio issue
        Defendant contends that counsel failed to request Giglio17 information from the
government. According to the defendant, this, coupled with counsel’s failure to prepare,
meant that the jury was not apprised of what he claims was a tacit agreement made by
Gregory Skibbee, Paul Fischer and Betty Smith with David Newman, David Adams, Mark
Knopfs and Agent Lambert, wherein defendant was made the “fall guy” in exchange for
Skibbee, Fischer and Smith avoiding prosecution.
         In Giglio v. United States, 405 U.S. 150, 154, 92 S.Ct. 763, 31 L.Ed.2d 104 (1972),
the Supreme Court found that the government’s failure to disclose to the defense a
promise to a key witness that he would not be prosecuted if he testified for the government
required reversal of the defendant’s conviction. In that case, a promise made by one


        17
             Giglio v. United States, 405 U.S . 150, 154, 92 S .Ct. 76 3, 31 L.Ed .2d 104 (1 972 ).

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Assistant United States Attorney was imputed to the entire office. Additionally, the
government’s knowing reliance on perjured testimony is a violation of Giglio. United States
v. Curtis, 380 F.3d 1311, 1314 (11th Cir. 2004). “In order to succeed on a Giglio challenge,
the defendant must demonstrate that the prosecutor ‘knowingly used perjured testimony,
or failed to correct what he subsequently learned was false testimony, and that the
falsehood was material.’” United States v. Vallejo, 297 F.3d 1154, 1163-64 (11th Cir. 2002)
(quoting United States v. Dickerson, 248 F.3d 1036, 1041 (11th Cir. 2001), cert. denied, 536
U.S. 957, 122 S.Ct. 2659, 153 L.Ed.2d 835 (2001) (quotations omitted)).
        In this case, defendant claims only that there was an agreement, albeit tacit, that
if Skibbee, Fischer and Smith testified for the government they would not be prosecuted.
He as much as concedes that Skibbee’s agreement “was not formalized” and instead
suggests that perhaps it was “evidence of bias.” The government states that Mr. Skibbee
testified at trial both for the government and for the defendant, and that “during [his
testimony] the issues of bias, immunity and promises were well covered.” (Doc. 565, Tr.
Vol. V at 106 et seq., doc. 872, Tr. Vol. XVIII at 232 et seq.). The court’s review of the
nearly 200 pages of testimony covered by the government’s citation reveals that Skibbee
testified at length about the substance of the alleged conspiracy but that the issues of
immunity and promises were not well covered, if they were covered at all. Although
defendant claims in his reply that Skibbee told him in the spring of 1999 that Skibbee had
worked out an agreement with the government, he offers no proof of this. The government
represents that “there were no immunity deals with any of the defendant’s partners.”
Defendant has made no allegation, much less a showing, that any of the witnesses gave
false testimony. Thus, he has failed to establish even a prima facie case under Giglio.
LeCroy v. Secretary, Florida Department of Corrections, 421 F.3d 1237, 1255 (11th Cir.
2005); Tompkins v. Moore, 193 F.3d 1327, 1339 (11th Cir. 1999). If there were no
agreements, there was nothing for the government to reveal, and counsel’s alleged failure
to ask for this information could not have resulted in prejudice.




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        Claim 14 (O)--Failure to learn Matz’ 37 (sic) volume file18
        Defendant contends that counsel failed to “learn” the 37 (sic) volume file that he had
prepared in conjunction with former counsel. Defendant states that he and Reed Ammon
had spent eight months going through the government repository and defendant’s own
files, interviewing witnesses, analyzing law, strategizing and otherwise preparing for trial.
Defendant explains that the product of this preparation was contained in a thirty-six volume
set of notebooks, indexed, outlined and organized, complete with highlighting and notes
about how to best utilize each document. Matz complains that counsel refused to “learn”
the contents of these notebooks due to lack of time, because of his Elder Law certification
examination which took place during the early part of the trial, family commitments, his
private practice, and other reasons.
        Counsel did not address the trial notebooks and any review he may have done of
their contents in his affidavit. However, he did explain in his affidavit the trial preparation
that he undertook. Counsel does not enjoy the benefit of unlimited time and resources,
and every counsel is faced with zero-sum calculations on time, resources and defenses
to pursue at trial. Turner v. Crosby, 339 F.3d 1247, 1276 (11th Cir. 2003) (quoting
Chandler, 218 F.3d at 1314 n. 14). As such, “[h]ow a lawyer spends his inherently limited
time and resources is also entitled o great deference by the court.” Grayson, 257 F.3d at
1221 (quoting Chandler, 218 F.3d at 1318 n.22). Because the test is not what the best
lawyer would have done, but rather what some reasonable lawyer would have done under
the circumstances, Williamson, 221 F.3d at 1180, the defendant has failed to show he is
entitled to relief.


        Claim 15 (P)-- Failure to develop a theme or theory of defense
        Defendant contends that counsel failed to build his client’s defense around good
faith reliance on advice of counsel (“GFRAC”), as Matz requested. He claims that counsel
failed to develop any discernable theory of defense.


        18
             This claim is closely intertwined with claim 4(e).

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        Counsel states in his affidavit that he believed early on that the best tactic was to
distance his client from Hammersmith’s management and to show that he relied in good
faith upon the representations of the other defendants about the investment program when
becoming involved as an “outside salesman” or “outside broker.” (Doc. 1296, exh. 2 at ¶
10). He noted the difficulty in doing this because of the “clearly fraudulent” nature of the
Hammersmith program, and his client’s solicitation of investors both personally and in
writing, even after he had been told that the program was fraudulent, and overwhelming
volume of evidence against his client. (Doc. 1296, exh. 2 at ¶¶ 9, 24). The defendant’s
alleged good faith in becoming involved in the scheme was the clear theme in counsel’s
opening statement. (Doc. 562, tr. Vol. II at 3-11). Counsel buttressed this position by
noting that the defendant only made money if the investors made a profit, and explained
that the defendant had obtained a fidelity bond in an attempt to protect his clients’
investments. In his closing argument, counsel continued to advance the position that the
circumstances did not show that the defendant knew that anything was amiss in the
investment scheme. (Doc. 836, Tr. Vol. XXIII at 65-86).
        Counsel’s tactical decisions on which defense to pursue are “virtually
unchallengeable.” Provenzano v. Singletary, 148 F.3d 1327, 1332 (11th Cir. 1998) (quoting
Strickland; Waters v. Thomas, 46 F.3d 1506, 1522 (11th Cir. 1995)); cf Miller v. Anderson,
255 F.3d 455, 458 (7th Cir. 2001) (the fact that something was a tactical decision does not
immunize it from review under Strickland). “[A] court must indulge a strong presumption
that counsel's conduct falls within the wide range of reasonable professional assistance;
that is, the defendant must overcome the presumption that, under the circumstances, the
challenged action might be considered sound trial strategy.” Strickland, 466 U.S. at 689,
104 S.Ct. at 2065 (quotation marks and citation omitted); see also Waters v. Thomas, 46
F.3d 1506, 1518-19 (11th Cir. 1995) (en banc) (observing that “[w]e cannot, and will not,
second guess” the “strategic decisions trial counsel are called upon to make”). “[C]ounsel
cannot be adjudged incompetent for performing in a particular way in a case, as long as
the approach taken might be considered sound trial strategy.” Johnson v. Alabama, 256
F.3d 1156, 1176 (11th Cir. 2001). The fact that defendant would have preferred that

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counsel take a different strategic tactic, or that the tactic counsel chose was ultimately
unsuccessful is not tantamount to saying counsel was constitutionally ineffective. After all,
“[t]here are countless ways to provide effective assistance in any given case,” and “[e]ven
the best criminal defense attorneys would not defend a particular client in the same way.”
Strickland, 466 U.S. at 689, 104 S.Ct. at 2065; accord, e.g., Waters v. Thomas, 46 F.3d
at 1522 (“Three different defense attorneys might have defended Waters three different
ways, and all of them might have defended him differently from the way the members of
this Court would have, but it does not follow that any counsel who takes an approach we
would not have chosen is guilty of rendering ineffective assistance.”). Counsel indicates
in his affidavit that his strategy was tested through a mock trial conducted by the
defendants. (Doc. 1296, exh. 2 at ¶10). Under the circumstances of this case, the court
cannot say that counsel’s choice of defense strategy was unreasonable or constitutionally
ineffective.


        Claim 16 (Q)--Failure to participate in, evaluate, research or prepare jury instructions
        Defendant claims that counsel failed to participate in “any manner or fashion” in the
preparation of the jury instructions, and as a result there were no instructions on GFRACD,
no special instructions were proposed or given about evidence that had been admitted for
limited purposes, or as to evidence that was admitted against other defendants, but not
against him.
        Counsel did not refute defendant’s allegation of his non-participation in the
preparation of jury instructions in his affidavit. In its response, the government takes the
position that appropriate limiting instructions were given throughout the trial and that the
defendant did not have a legitimate GFRACD. In fact, the government notes that
defendant held himself out to his victims in writing to be an expert in these types of
investment programs.19 To the extent defendant sought specific instructions as relating to
the facts of his case, a review of the jury instructions reveals that no defendant had this



        19
             Th e go vern m ent cites “G X P hoe nix 1, 6 , 16, 33 ” as e xam ples.

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distinction. The defendants were mentioned by name only within the scope of the
indictment, not with respect to particularized instructions. Finally, there were instructions
relating to both good faith and good faith reliance on advice of counsel. (Doc. 48 at 23-
24).20 The instructions given were in accordance with the evidence, but otherwise did not
specifically state to which defendant they referred. Therefore, had the jury believed
GFRACD was a viable defense for defendant Matz, it would have been a “complete
defense to the charges in the indictment.” (Doc. 485 at 23). Defendant has not identified
any other specific jury instruction that counsel should have requested, for which such a
request would have been granted, and which would have made a difference in the outcome
of his case. His claim that the trial court erred by failing to instruct the jury on the lesser
included offense of misprision of a felony was rejected on appeal. (Doc. 1184 at 39-40).
And he has not explained how he was prejudiced because of counsel’s failure to



         20
          The instructions read as follows:
                   Good faith is a complete defense to the c harg es in th e indictm ent since goo d faith
        on the part of the Defendant is inconsistent with intent to defraud or willfulness which is an
        essential part of the charges. The burden of proof is not on the D efe nda nt to prove good
        faith, of course, since the Defendant has no burden to prove anything. The Government
        must establish beyond a re aso nab le dou bt that the D efenda nt acted w ith spe cific inten t to
        defraud , as charg ed in th e indictm ent.
                   One who expresses an honestly held opinion, or an honestly formed belief, is not
        chargeable with fraudulent intent even thought the opinion is erroneous or the belief is
        m ista ke n; and, sim ilarly, evidence which establishes only that a person made a m ista ke in
        judgment or an error in managem ent, or was careless, doe s no t establish fra udu lent inten t.
                   On the other hand, an honest belief on the part of the Defendant that a particular
        business venture was sound and would ultimately succeed would not, in and of itse lf,
        con stitute “good faith” as that term is used in these instructions if, in carrying out that venture,
        the Defend ant know ingly m ade false or fraudulent repres entations to others with the specific
        intent to deceive them.
                   Evidence has been presented that some D efendants may have relied on advice of
        counsel. This is another way to demonstrate good faith, and a Defendant would not be
        “willfully” doing wrong if, before taking any action with regard to the alleged offense, the
        Defendant con sulted in goo d faith an attorney whom the D efenda nt considered com pete nt,
        made a fu ll and accurate report tot hat attorney of all material facts of which the Defendant
        had the means of knowledge, and then acted strictly in accordance with the advice given by
        tha t attorney.
                   W hether the Defendant acted in good faith for the purpose of seeking advice
        concerning questions about which the Defendant was in doubt, and whether the Defendant
        made a full and co m plete report to the atto rney, and wheth er the De fendant ac ted strictly in
        accordance with the advice received, are all questions for you to determine.
(Doc. 485 at 23-24).

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participate in the preparation of the proposed jury instructions. Therefore, he has not
shown ineffective assistance of counsel with respect to this claim and he is not entitled to
relief.


          Claim 17 (R)--Failure to request a James hearing
          Defendant claims that counsel was constitutionally ineffective when he failed to
request a James21 hearing. As a result, he claims, “highly prejudicial and unreliable
hearsay” was admitted against him without contest.                          By way of examples he cites
“Skibbee’s quotes from David Gibson, St. Jean’s quotes from David Gibson, unidentified
“inflight magazines”, unidentified contract documents, various references to alleged
statements and conduct of Scott Hamilton, etc.” (doc. 1263 at 23). He also identifies
generally “uncontested hearsay statements from witnesses such as Hamilton, Gibson, St.
Jean, Skibbee, Miller, Stoner, etc.” (doc. 1264 at 21).
          The purpose of a James hearing is to determine whether the statements of a
defendant’s alleged coconspirators are admissible against him. See United States v.
James, 590 F.2d 575 (5th Cir. 1979) (en banc); Fed.R.Evid. 801(d)(2)(E). The James court
held that co-conspirators’ statements are admissible under the hearsay exception in Rule
801(d)(2)(E), which governs admissibility of coconspirator statements made during the
course and in furtherance of the conspiracy, only if substantial independent evidence of
a conspiracy exists. United States v. Williams, 264 F.3d 561, 576 (5 th Cir. 2001) (citing
James, 590 F.2d at 581). A so-called James hearing, conducted outside the presence of
the jury, is one potential method for the district court to ensure the government can satisfy
the predicate facts needed to prove the conspiracy independent of the statements.
Williams, 264 F.3d at 576 (citing United States v. Fragoso, 978 F.2d 896,900 (5 th Cir.
1992); United States v. Alvarez, 696 F.2d 1307, 1310 (1983). Whether a hearing is
necessary is within the discretion of the trial court. Williams, 264 F.3d at 576 (citing United




          21
               United States v. James, 590 F.2d 575 (5 th Cir. 19 79) (en banc ).

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States v. Fragoso, 978 F.2d 896,900 (5 th Cir. 1992). The Eleventh Circuit had this to say
about the parameters of the hearing.
        If, after the hearing, the judge is satisfied that there is substantial
        independent evidence that (1) a conspiracy existed, (2) that the
        coconspirator and the defendant against whom the statement is to be offered
        were members of the conspiracy, and (3) that the statement was made
        during the course and in furtherance of the conspiracy, then he may allow
        into evidence the statements of the coconspirator. As an additional measure
        of protection, the trial judge, on appropriate motion at the conclusion of all
        the evidence, must determine as a factual matter whether the prosecution
        has established the three facts listed above by a preponderance of the
        evidence. If the prosecution has failed to link the coconspirator's statements
        to proof of a conspiracy, the judge must determine whether a curative
        instruction to the jury to disregard the coconspirator's statements will correct
        the default or whether a mistrial is mandated.

Alvarez, 696 F.2d at 1310 (citing James, 590 F.2d at 582-83).

        Through his arguments in this case, defendant appears to lose sight of the fact that
the criteria for admission under James of otherwise unreliable hearsay statements is
merely that substantial independent evidence of a conspiracy exists. Bourjaily v. United
States, 483 U.S. 171, 177, 107 S.Ct. 2775, 2779, 97 L.Ed.2d 144 (1987) (citing United
States v. Nixon, 418 U.S. 683, 701 and n.14, 94 S.Ct. 3090, 3104 and n. 14, 41 L.Ed.2d
1039 (1974)). The purpose of a James hearing is not to determine the underlying veracity
or reliability of the hearsay statements. Thus, defendant has not shown that he was
prejudiced by counsel’s failure to ask for such a hearing.


        Claim 18 (S)--Failure to ensure compliance with Local Rules on Discovery
        Defendant claims that counsel failed to avail himself of the Northern District of
Florida Local Rule 26.3 regarding discovery in criminal cases. He maintains that counsel
initiated no formal requests for discovery, never received any written responses to
discovery, and did not avail himself of the discovery that had been produced.22 He also

        22
          As exa m ples, defe nda nt states that counsel never looked at Segner’s CD, never visited the
government repository, never visited the office of co-defendant’s coun sel, Mr. Beroset, to review the six boxes
of discovery materials that had been pro duced by the governm ent, did not interview any witnesses or conduct

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claims that counsel failed to procure audiotapes of defendant’s debriefings in Arizona,
although defendant had advised counsel that these were still in existence and in the
possession of the Arizona State authorities. Finally, he contends that counsel did not
receive a written summary of the testimony expected to be given by its experts or do
anything to prepare for the experts.
        In response, the government states that it fully complied with its discovery
obligations, including provision of summaries of the testimony of its experts, Roger Cox
and Milo Segner. The government does not mention the audiotapes of the defendants’
debriefings, but clearly if these were in the possession of the Arizona law enforcement, the
United States could not be faulted for its failure to produce something it did not have.
Defendant states in his reply that the only thing the government provided was a CD-ROM
containing nothing but a listing of nearly 250,000 bank entries, covering more than 100
bank accounts, from which there was no way to glean the proposed testimony of Segner.
The defendant does not specifically identify any document or testimony that was offered
at trial but not disclosed pretrial which caused him prejudice.


        Claim 19 (T)--Failure to call an expert on attorney/client trust accounts
        Defendant’s last claim is that counsel failed to call an expert on attorney client trust
accounts who could have explained how such trust accounts operate, particularly in
personal injury practice, specifically that most of the money that passes through these
accounts does not belong to the attorney. Defendant claims that the jury never understood
that fact, nor did they know that one investment account, the Rancho Investor account, was
segregated, requiring the investor’s signature for any movement or withdrawal of funds. He
also claims that the jury was left with the false impression that he had pilfered $14 million
from a multitude of people over a period of years. Defendant states that Mr. Hekman was
prepared on the subject and could have given such testimony, but this witness was
“abandoned” by counsel and no comparable witness called in his place.



any investigation.

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         Counsel does not address this claim in his affidavit except to explain why Mr.
Hekman was not going to be a useful defense witness. The government argues that the
trust account issue was completely irrelevant to the defendant’s guilt in participating in the
Ponzi scheme. It further states that the defendant’s new assertions of legitimacy of the
“Rancho” account are completely unsupported by the voluminous bank records and
analyses offered into the record. Furthermore, even if one investment account was
legitimate, this does not establish the defendant’s innocence of the charges against him.
Therefore, he has not shown prejudice in counsel’s failure to introduce an expert on this
issue.


         Based on the foregoing, it is respectfully RECOMMENDED:
         The motion to vacate, set aside, or correct sentence (doc. 1237) be DENIED.


         At Pensacola, Florida, this 28th day of November, 2005.




                                               /s/   Miles Davis
                                                     MILES DAVIS
                                                     UNITED STATES MAGISTRATE JUDGE




                                          NOTICE TO THE PARTIES

Any objections to these proposed findings and recommendations must be filed within ten
days after being served a copy thereof. A copy of objections shall be served upon all other
parties. Failure to object may limit the scope of appellate review of factual findings. See
28 U.S.C. § 636; United States v. Roberts, 858 F.2d 698, 701 (11th Cir. 1988).




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